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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


HANOVER INSURANCE COMPANY,

       Plaintiff,

       v.                                                     Case No. __________________

LAURENCE BANK; NK WASHINGTON
ST, LLC; BG ARLINGTON, LLC; THE
CHARTER OAK FIRE INSURANCE
COMPANY,

       Defendant.


                                    NOTICE OF REMOVAL


       Defendants NK Washington St., LLC (“NK Washington”), Laurence Bank, and

BG Arlington, LLC (“BG Arlington”) (together, the “Policyholder Defendants”), pursuant to

28 U.S.C. §§ 1441 and 1446, hereby give notice of the removal of this action from the Circuit

Court for the City of Alexandria, Virginia to the United States District Court for the Eastern

District of Virginia, and respectfully states as follows:

                                        INTRODUCTION

       1.      Plaintiff, Hanover Insurance Company (“Hanover”), commenced this action

against the Policyholder Defendants and The Charter Oak Fire Insurance Company (“Charter

Oak”) by filing a Complaint for Declaratory Judgment (“Complaint”) in the Circuit Court for the

City of Alexandria, Virginia (the “Circuit Court”), Case No. CL19002402 (the “Lawsuit”). True

and complete copies of the Complaint, Summons, and all other process filed in the Circuit Court

as of the filing of this notice are attached collectively as Exhibit A. No other process, order or
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other pleading in this action has been received to date by the Policyholder Defendants. The

parties are citizens of different states, and the amount in controversy exceeds $75,000.

Therefore, the action is removable to this Court on the basis of diversity jurisdiction.

                                      TIMELY REMOVAL

         2.    The Policyholder Defendants first received, through counsel, copies of the

Summons and Complaint on July 16, 2019. See Email correspondence, attached hereto as

Exhibit B.

         3.    Thirty (30) days have not yet expired since this action became removable to this

Court.

                           BASIS FOR FEDERAL JURISDICTION

         4.    This Court has original jurisdiction over this civil action under 28 U.S.C. § 1332,

and this action is one that may be removed to this Court by the Policyholder Defendants pursuant

to 28 U.S.C. §§ 1441 and 1446 in that it is an action between citizens of different states wherein

the amount in controversy exceeds the sum of $75,000.00, exclusive of interest and costs.

         5.    Plaintiff Hanover is a New Hampshire corporation with its principal place of

business in Massachusetts.

         6.    Defendant NK Washington is a Virginia limited liability company with its

principal place of business in Alexandria, Virginia.

         7.    Defendant Mr. Bank is an individual residing in Potomac, Maryland.

         8.    Defendant BG Arlington is a former Virginia limited liability company with its

former principal place of business in Arlington, Virginia.

         9.    Upon information and belief, Defendant Charter Oak is a Connecticut corporation

with its principal place of business in Hartford, Connecticut.




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       10.     Pursuant to 28 U.S.C. § 1332(a), diversity of citizenship exists between Plaintiff

Hanover (New Hampshire), and Defendants Bank (Maryland), NK Washington (Virginia),

BG Arlington (Virginia), and Charter Oak (Connecticut).

                                AMOUNT IN CONTROVERSY

       11.     In the Complaint, Hanover seeks a declaration that it has no obligation under a

property insurance policy to pay for damage to the insured commercial property building located

at 424 N. Washington Street, Alexandria, Virginia (the “Property”). The Policyholder

Defendants submitted to Hanover a Proof of Loss for $847,555 “for the alleged damage to the

Property.” See Complaint ¶ 27; see also Exhibit C (May 28, 2019 Proof of Loss).

       12.     As such, the amount in controversy is in excess of $75,000, exclusive of interest

and costs.

                                              VENUE

       13.     Removal to this Court is proper pursuant to 28 U.S.C. § 1441(a), as this Court is

within the district and division where the Lawsuit is pending.

       14.     Upon the Court’s entry of this Notice and in accordance with 28 U.S.C.

§ 1446(d), the Policyholder Defendants will timely file a notice with the Circuit Court notifying

that court that the Policyholder Defendants have removed this case to the United States District

Court for the Eastern District of Virginia. That proposed filing is attached hereto as Exhibit D.

Pursuant to 28 U.S.C. § 1446(d), that notice is being served upon Hanover’s counsel and Charter

Oak’s registered agent for service.

       WHEREFORE, pursuant to 28 U.S.C. §§ 1441 and 1446, Pyramid hereby removes this

action from the Circuit Court for the City of Alexandria, Virginia to this United States District

Court for the Eastern District of Virginia.




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Dated: August 5, 2019        /s/ Kristin C. Davis

                             Kristin C. Davis (Va. Bar #78419) (member, E.D. Va.)
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                             Laurence Bank; and BG Arlington, LLC




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                              CERTIFICATE OF SERVICE


       I, the undersigned, hereby certify that on the 5th day of August, 2019, a copy of the
foregoing was sent via the CM/ECF system:

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                                             /s/ Kristin C. Davis
                                             Kristin C. Davis




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